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IN THE UNITED sTATES DISTRICT COURT '
FOR THE wEsTERN DISTRICT OF TENNESSEE n t
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CAROL 'I'ERE‘.SA HAR'I', by and
through her parent and next
friend, BEVERLY CAROL HART,

Plaintiffs,
vs. No. 03-2845-D/V
SHELBY COUNTY SCHOOL DISTRICT
and SUPERINTENDENT BOBBY WEBB,
in his official capacity,

Defendant.

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ORDER DIRECTING PLAINTIFF 'I‘O COMPLY WI'I‘H RULES
AND
ORDER STRIKING IRREGULAR FILINGS

 

On March 7, 2005, the defendant filed a motion to affirm the
opinion of the administrative law judge and to dismiss this case.
Local Rule 7.2(a)(2) requires that responses to motions to dismiss
or for summary judgment be filed within thirty days after service
of the motion. On March 16, 2005, plaintiff filed an irregular
motion, to continue With “Sixth Circuit Appellate Procedures.”
United States Magistrate Judge Diane Vescovo denied the motion as
devoid of any legal or factual basis for why Sixth Circuit
appellate procedures Were applicable.

Judge Vescovo noted the possibility that plaintiff intended
the document to be a response to the defendant’s motion to dismiss,
however, the document did not contain a certificate of service

indicating that the document had been served upon defense counsel.

This document entered on the docket heat '1 cot(gpliance
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Judge Vescovo granted plaintiff fifteen (15) days from the entry of
her order to re-file the motion as a response.

On April 6, 2005, plaintiff filed a “motion to hear this case
in_ appeals court” and three irregular documents which. do not
contain numbered paragraphs. Fed. R. Civ. P. 10 requires that
documents contain numbered paragraphs. The motion does not contain
a certificate of consultation as required by Local Rule
7.2(a)(l)(B). Plaintiff addressed the documents to the undersigned

judge with no designation of the purpose of the pleading. Ex parte

Local Rule 83.5. None of the documents contain a certificate of
service as required by Fed. R. Civ. P. B(d) and Local Rule 83.7(b).

Plaintiff is proceeding pro §§ and must familiarize herself

this Court so that her pleadings comply with those rules. The
Court hereby directs plaintiff to file a response to the
defendant’s motion to dismiss which complies with the Federal and
Local rules. The response shall be filed within ten days of the
entry of this order upon the docket. After that date, the Court
Will review the defendant’s motion and determine whether it should

be granted.

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filed. Plaintiff is hereby directed that any further documents
that do not contain a certification at the end reading:

I hereby certify that a true and exact copy of the
foregoing has been forwarded by first class, postage
prepaid mail, to Timothy Smith, 2670 Union Extended,
Suite 1200, Memphis, TN 38112, on this `day of ,
2003.

 

Beverly Carol Hart

Accordingly, it is ORDERED that plaintiff's motion and
irregular filings, docket entries 44, 45, 46, and 47, are stricken
from the docket in this case because they do not comply with the
Federal Rules of Civil Procedure or the Local Rules of this Court.
Furthermore, the documents were not served on opposing counsel.
The Clerk is ORDERED not to accept for filing any further documents
submitted by this plaintiff that are not accompanied by a
certificate of service or certificate of consultation as required.

A failure to timely comply with any requirement of this order
will result in the dismissal of the complaint. The plaintiff must
also keep this Court informed of her current address. If
plaintiff fails to inform the Court of a change of address, she
will not be excused for failing to comply with the Court's orders

and deadlines because an order was delayed or not delivered.

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IT IS SO ORDERED this 13 day Of April, 2005.

UICE B. DONALD
UED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 2:03-CV-02845 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

Timothy W. Smith

LAW OFFICE OF TIMOTHY W. SMITH
2670 Union EXtd.

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1\/1emphis7 TN 38112

Beverly Carol Hart
1614 Sorghum Mill
Cordova, TN 38016

Honorable Bernice Donald
US DISTRICT COURT

